                Case 2:08-cr-00294-WBS Document 104 Filed 01/28/11 Page 1 of 2


 1   BRUCE LOCKE (#177787)
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     Sacramento, CA 95825
 3   (916) 569-0667
     (916) 569-0665 fax
 4   Attorneys for
     MELISSA VILLEGAS
 5
 6                           IN THE UNITED STATES DISTRICT COURT
 7                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 8   UNITED STATES OF AMERICA,           )                No. CR. S-08-294 EJG
                                         )
 9                     Plaintiff,        )
                                         )                STIPULATION AND
10                                       )                ORDER FOR CONTINUING THE
           v.                            )                DATE FOR SENTENCING AND FOR
11                                       )                RESCHEDULING THE DISCLOSURE OF
     MELISSA VILLEGAS,                   )                THE PRE-SENTENCE REPORT
12                                       )
                       Defendant.        )
13   ____________________________________)
14          IT IS HEREBY STIPULATED AND AGREED between the defendant, Melissa Villegas,
15   by and through her defense counsel, Bruce Locke, and the United States of America by and through
16   its counsel, Assistant U.S. Attorney Russell Carlberg, that the date for sentencing should be
17   continued from March 11, 2011 to May 20, 2011.
18          The Proposed Pre-Sentence Report shall be disclosed to counsel no later than March 25,
19   2011. Counsel’s written objections to the Pre-Sentence Report shall be delivered to the Probation
20   Officer and opposing counsel no later than April 15, 2011. The Pre-Sentence Report shall be filed
21   with the court and disclosed to counsel no later than April 22, 2011. The motion for correction of
22   the Pre-Sentence Report shall be filed with the court and served on the Probation Officer and
23   opposing counsel no later than May 6, 2011. The reply or statement of non-opposition shall be filed
24   and served no later than May 13, 2011. Mr. Carlberg has authorized Mr. Locke to sign this pleading
25   for him.
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             Case 2:08-cr-00294-WBS Document 104 Filed 01/28/11 Page 2 of 2


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 4
 5   Dated: January 26, 2011             Respectfully submitted,
 6                                          /S/ Bruce Locke
                                         BRUCE LOCKE
 7                                       Attorney for Melissa Villegas
 8
     DATED: October 22, 2010                /S/ Bruce Locke
 9                                       For RUSSELL CARLBERG
                                         Attorney for the United States
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15          IT IS SO ORDERED.
16
     DATED: January 28, 2011             /s/ Edward J. Garcia
17                                       UNITED STATES DISTRICT JUDGE
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